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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO



 HORIZON TOWER LIMITED
 PARTNERSHIP-II, and HORIZON
 TOWER, LLC,                                   Case No.: 1:19-CV-125

                Plaintiffs,                    COMPLAINT FOR DECLARATORY
                                               AND INJUNCTIVE RELIEF AND
                       v.                      EXPEDITED TREATMENT

 ADA COUNTY, IDAHO, and BOARD OF
 ADA COUNTY COMMISSIONERS,

                Defendants



       For their Complaint against defendants Ada County, Idaho and the Board of Ada County

Commissioners (collectively the “Defendants” or the “County”), Plaintiffs Horizon Tower




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Limited Partnership-II and Horizon Tower, LLC (collectively “Horizon” or “Plaintiffs”), by and

through their undersigned counsel, upon knowledge as to their own actions and dealings and

upon information and belief as to Defendants and their actions, allege as follows:

                                       Nature of the Action

       This action arises out of the Defendants’ unlawful denial of Plaintiffs’ application to

construct a wireless telecommunications facility in the form of a stealth monopine tower at 2557

N. Sky View Lane, in Ada County. The County’s denial is not supported by substantial evidence

in a written record, is unlawfully based on fears regarding radio frequency (“RF”) emissions, and

effectively prohibits personal wireless service in the vicinity of the proposed facility.

Accordingly, the County’s denial of Plaintiffs’ application violates the Federal Communications

Act, as amended, 47 U.S.C. § 332(c)(7) (the “Communications Act” or “Act”). In addition, the

County’s denial is not supported by substantial evidence, in violation of Idaho’s Local Land Use

Planning Act (“LLUPA”), codified at Title 67, Chapter 65, Idaho Code, and the County’s denial

was the result of a biased decision maker that deprived Plaintiffs of their rights to due process

under the United States and Idaho Constitutions.

       Plaintiffs therefore seek an injunction from this Court directing the County to grant

Plaintiffs’ application for the proposed facility in accordance with Plaintiffs’ rights under the

Communications Act.

       Plaintiffs request expedited treatment of this Complaint pursuant to 47 U.S.C.

§ 332(c)(7)(b)(v).

                                               Parties

       1.       Plaintiff Horizon Tower Limited Partnership-II is a Kansas limited partnership

with its principal place of business in Danville, California. Plaintiff Horizon Tower, LLC is a




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limited liability company with its principal place of business in Danville, California. Horizon

Tower, LLC is the operations partner for Horizon Tower Limited Partnership-II. Plaintiffs are

registered to do business in the state of Idaho. Horizon owns and manages tower assets and

wireless infrastructure that are used by national and regional wireless carriers to provide voice,

data, and wireless broadband internet services to end-user consumers in Idaho and throughout the

western United States.

        2.       Defendant Ada County, Idaho is a county located in southwestern Idaho.

Pursuant to Rule 4(d)(4)(B) of the Idaho Rules of Civil Procedure, the County may be served by

delivering a copy of the summons and complaint to the Clerk for Ada County, Idaho.

        3.       Defendant the Board of Ada County Commissioners (“Board”) is comprised of

members Kendra Kenyon, Diana Lachiondo, and Rick Visser. The Board maintains

administrative offices at 200 W. Front Street, Boise, Idaho 83702. Among other things, the

Board hears, acts upon, and issues final decisions in appeals of land use matters, including those

related to wireless communications facilities.

                                      Jurisdiction and Venue

        4.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because of the existence of federal questions arising under the Communications Act of

1934, as amended by the Communications Act of 1996 (the “Communications Act”). The Court

has authority to issue declaratory judgment relief pursuant to 28 U.S.C. § 2201(a).

        5.       The Court has supplemental jurisdiction over Plaintiffs’ claim under Idaho law

pursuant to 28 U.S.C. § 1367(a) because the claim is so related to Plaintiffs’ federal claims that it

forms a part of the same case or controversy under Article II of the United States Constitution.




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         6.       Horizon has standing pursuant to 47 U.S.C. § 332(c)(7)(B)(v) as a person

adversely affected by the Defendants’ actions, which are inconsistent with 47 U.S.C. §

332(c)(7)(B).

         7.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), in that a

substantial part of the acts, events, or omissions giving rise to this action occurred in Ada County

in the District of Idaho.

                                         Statement of Facts

                            Federal Statutory Control of Wireless Siting

         8.       The Communications Act governs federal, state, and local government regulation

 of the siting of personal wireless service facilities such as the one at issue here. 47 U.S.C.

 § 332(c)(7)(B).

         9.       The Communications Act further provides that any person adversely affected by a

 state or local government’s act, or failure to act, that is inconsistent with 47 U.S.C. § 332(c)(7) of

 the Communications Act may seek review in federal courts, and that the courts shall hear and

 decide the action on an expedited basis. 47 U.S.C. § 332(c)(7)(B)(v).

         10.      Horizon constructs, owns, and manages tower assets and wireless infrastructure

 that are used by national and regional wireless carriers to provide voice, data, and wireless

 broadband internet services to end-user consumers in Idaho and elsewhere in the United States.

 Horizon leases space on its facilities to national and regional wireless carriers, including Verizon

 Wireless, which provide personal and advanced wireless services, as well as other

 telecommunications services, as those terms are defined under federal law, to end-user wireless

 customers. In providing this valuable service to wireless carriers, Horizon is facilitating the




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development and deployment of advanced wireless and broadband connectivity, consistent with

the goals of the Communications Act.

       11.     To provide reliable service to an end user, coverage and capacity from cell sites

must overlap in a grid pattern resembling a honeycomb. If Horizon is unable to construct a cell

site within a specific geographic area, the wireless carriers it serves will not be able to provide

service to consumers within that area.

       12.     To determine locations or areas in which a new wireless facility is required, radio

frequency (“RF”) engineers use various techniques, such as sophisticated computer programs

and field testing, to complete a field propagation study, which shows where cell sites need to be

located to provide service. The propagation study also takes into account the topography of the

land, the coverage boundaries of neighboring cell sites, and other factors. For a wireless network

to perform adequately, cell sites must be located, constructed, and operated so that the wireless

carrier can achieve reliable service for its customers. If there is no functioning cell site within a

given area, there will be no service for customers within that area, and customers who live or

travel in the area will experience an unacceptable level of dropped calls and connection failures,

including the potential inability to make E-911 emergency calls.

                             The Proposed Facility and Application Process

       13.     Based upon research and analysis by RF engineers, Verizon Wireless determined

that it has a significant gap in its ability to provide service in Ada County in an area in the

vicinity of N. Sky View Lane.

       14.     This gap is significant based on the population of and vehicular traffic in the area

affected and must be remedied for Verizon Wireless to provide service to the targeted area.




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        15.    Verizon Wireless initially provided Plaintiffs with a search area established by its

RF engineers, and requested that Plaintiffs develop a wireless communications facility

somewhere within that search area so that it may remedy its significant gap in service in that

area.

        16.    Plaintiffs investigated suitable properties within the search area that were

appropriate for a wireless communications facility. An appropriate candidate would have to fill

the significant gap in service, comply with local zoning standards, be leasable, and be buildable.

Plaintiffs considered and ruled out other properties as alternative locations for its proposed

facility. Plaintiffs had to rule out any properties that were in the search ring that were located

within the City of Eagle, Idaho, because under the Eagle municipal code, a tower must be set

back a minimum of two times the height of the tower from all property lines. None of the

properties in the search ring that are located within the City of Eagle would satisfy the City’s

zoning setback requirements. The City of Eagle Mayor and City Council have made it clear by

their public comments that the City Council will not approve any tower in the City in that area.

In addition, Horizon evaluated at least seventeen properties in the search ring, but none were

available or feasible for installation of a wireless facility to remedy the significant gap in service.

        17.    After investigating and evaluating properties within the search area, Plaintiff

concluded that the subject site at 2557 N. Sky View Lane (the “Proposed Site”): (1) was in the

search area; (2) was in a zone in which wireless communications facilities are conditionally

allowed; (3) had a property owner willing to lease a portion of the land for construction of a

wireless facility; and (4) was suitable for constructing and maintaining a wireless

communications facility.




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         18.   The Subject Property is a 5-acre parcel of property that is within Ada County in a

Rural-Urban Transition (“RUT”) zoning district.

         19.   Section 8-5-3-114 of Ada County Code (the “County Code”) sets forth zoning

application requirements for new commercial tower structures. Section 8-5-3-114 states that a

person seeking to install a personal wireless service facility that is not a collocation on an

existing approved tower structure must apply for a Conditional Use Permit (“CUP”). In addition,

the applicant must meet the general requirements for a CUP set forth in 8-5B of the County

Code.

         20.   Skyview Development Corporation is the owner of the Proposed Site.

         21.   On December 14, 2017, Skyview Development Corporation and Horizon entered

into a Lease Agreement to lease space at the Proposed Site for the installation of a wireless

tower.

         22.   On June 20, 2018, Powder River Development Services, LLC, as the Contractor

on behalf of Horizon, filed an application for a CUP for the construction and installation of a

wireless communications facility at the Proposed Site (the “Application”). In support of the

CUP Application, Plaintiffs submitted, among other things, a Detailed Letter, Master

Application/Petition form, Neighborhood Meeting Certification, Conditional Use Checklist, Pre-

Application conference notes, and Master Site Plan with construction drawings, all as required

by County Code § 8-5B and County regulations.

         23.   Initially, Horizon’s Application proposed a stealth monopine with a height of 85

feet.

         24.   Based on feedback from neighbors, Horizon ultimately applied to install a 65-foot

tall tower designed to resemble a pine tree to conceal the tower and make it “stealth” (the




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“Stealth Tower”). In addition, after meeting with some of the Opponents, Horizon moved the

Proposed Facility to the back of the property to reduce the perceived visual impact. Thus, the

Stealth Tower would be sited on a 50’x50’ gravel compound, surrounded by a solid vinyl fence,

with vegetative screening in the form of 20 evergreen trees (with the Stealth Tower, as a whole,

“Proposed Facility”).

       25.      The Stealth Tower is designed to remedy the significant gap in service currently

suffered by Verizon Wireless in the area of the Proposed Site, but will also be able to

accommodate at least two additional wireless carriers and thus eliminates the need for up to two

additional structures in the vicinity of the Proposed Site.

       26.      The Application was deemed complete under the requirements of Section 8-5B of

the County Code, governing CUPs, Section 8-5-3-114 of the County Code, governing

commercial wireless towers, and the County’s applicable regulations governing CUP

applications.

       27.      The Proposed Facility and the Application fully complied with the requirements

of Section 8-5B of the County Code, governing CUPs, and Section 8-5-3-114 of the County

Code, governing commercial wireless towers.

       28.      Under Section 8-5-3-114.D.4.c of the County Code, as a condition of obtaining a

CUP for a wireless tower that is more than 50 feet but less than 80 feet tall, the applicant must

demonstrate that there are no existing communications towers or structures within a one-half

mile radius that can accommodate co-location. In this case, there are no existing

communications towers or structures within a one-half mile radius that can accommodate co-

location and remedy Verizon Wireless’s significant gap in service. The closest tower is 1.83

miles from the Proposed Site.




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       29.     On October 18, 2018, the Ada County Planning and Zoning Commission (the

“Commission”) held a public hearing to evaluate the Application.

       30.     At the October 18, 2018 hearing, Horizon presented evidence and testimony, in

addition to the Application and its supporting materials, demonstrating that the Proposed Facility

complies with all County Code requirements and satisfies all requirements for a CUP.

       31.     Among other things, Horizon also presented evidence demonstrating that Verizon

Wireless suffers from a significant gap in wireless service in the area around the Proposed

Facility, including but not limited to testimony from its RF engineer expert and supporting RF

propagation studies performed by the RF engineer expert.

       32.     Among other things, Horizon also presented evidence demonstrating that it had

undertaken a thorough and good faith investigation of potential alternative properties and

locations within the necessary search area defined by Verizon Wireless as necessary to remedy

the significant gap in service, including but not limited to testimony from Horizon’s site

acquisition manager regarding his investigation of potential alternatives.

       33.     Some local residents presented comments to the Commission in opposition to the

Application that were overwhelmingly focused on their fears regarding the alleged potential

effects of RF emissions from the Proposed Facility.

       34.     On October 18, 2018, the Commission issued a “Findings of Fact, Conclusions of

Law and Order” (“Commission Order”) approving Horizon’s CUP Application, subject to

standard conditions.

       35.     The Commission’s Order found, among other things, that Horizon’s Proposed

Facility would not have “undue adverse impacts on surrounding properties” because “[a]lthough

the cell tower will be visible from neighboring properties, adjacent uses will be able to continue




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to function as they have in the past” and the cell tower will not “impede the normal use and

development of surrounding properties; or create undue adverse impacts.” The Commission’s

Order also found that the Proposed Facility is consistent with the applicable comprehensive plan,

including because “[c]ell towers need to be located relatively close to their customers in order to

provide coverage for the area.” In addition, the Commission’s Order also found that “the tower

is architecturally and visually compatible with existing structures and uses in the area,”

particularly based on the reduced height, stealth nature of the monopine design, and the site

location in the back corner of the property with landscape buffer.

       36.     On November 2, 2018, a group of property owners (Mr. Tharp, on behalf of Ms.

Hodge, Mr. and Mrs. Beach, Mr. and Mrs. Tassano, Mr. Fischer, Mr. and Mrs. Gardner, Mr. and

Mrs. Allen, and Mr. AJ Osborn) (the “Opponents”) filed an appeal of the Commission’s approval

of the CUP Application to the Board pursuant to Section 8-7-2 of the County Code.

       37.     The Board heard testimony on January 30, 2019.

       38.     At the January 30, 2019 hearing, in addition to the materials submitted to the

Commission, Horizon presented evidence demonstrating that the Opponents’ appeal was

improperly based on concerns about RF emissions.

       39.     Horizon also demonstrated that the Proposed Facility was not a fire hazard and

would be safe, including evidence from the City of Eagle Fire Department, which is responsible

for the fire protection district in which the area of the Proposed Site is located.

       40.     Horizon also introduced evidence demonstrating further that the Proposed Facility

would be architecturally and visually compatible with the existing structures, vegetation, and

uses in the area, particularly as a result of the proposed camouflage techniques, the proposed

additional landscaping, and the existing and surrounding trees in the vicinity.




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        41.     Horizon also demonstrated that the Opponents’ arguments regarding potential

adverse impacts were not supported by the evidence.

        42.     Horizon also further demonstrated the existence of the significant gap in Verizon

Wireless’ service that would continue without the Proposed Facility.

        43.     Horizon also further demonstrated, including through testimony from its site

acquisition manager, that it had performed a thorough and good faith investigation into potential

alternative locations and designs, but that there are no existing structures that could be used and

no alternative locations within the relevant search ring that were actually available, that were

feasible under the relevant zoning laws, or that would remedy the significant gap in service.

        44.     The Opponents presented no evidence disputing the existence of a significant gap

in Verizon Wireless’ service in the area around the Subject Property.

        45.     At the January 30, 2019 hearing, the Opponents submitted an appraisal that

purported to conclude that the Proposed Facility would have an adverse impact on the property

values of the adjacent properties (“Opponents’ Appraisal”).

        46.     The Opponents’ Appraisal explicitly stated that its conclusion was based on

people’s alleged fears or concerns regarding the potential health effects of RF emissions.

        47.     In response to the Opponents’ Appraisal, Horizon also introduced evidence

demonstrating significant flaws in the methodology of the Opponents’ Appraisal.

        48.     The comments and opposition by Opponents consisted of generalized opposition

to any wireless facility in the area.

        49.     The Board issued a Finding of Facts, Conclusions of Law and Order (the

“Denial”) by which the Board granted the Opponents’ appeal and, in so doing, denied Horizon’s

Application on February 6, 2019.




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       50.     Pursuant to Idaho Code § 67-6535 and Ada County Code § 8-7E-5.A, on

February 20, 2019, Horizon filed a Motion for Reconsideration before the Board.

       51.     In its Motion for Reconsideration, Horizon again demonstrated that the

Application met or exceeded all of the standards and criteria for approval of a CUP, as the

Commission previously concluded.

       52.     Among other things in its Motion for Reconsideration, Horizon described how the

Board’s Denial applied, and was based on, incorrect standards under the County Code, relied on

testimony and evidence that was inaccurate and not credible, and was not supported by

substantial evidence in the record. For example, the Board’s Denial alleged that “Applicant

failed to show they explored locating the tower on other more compatible sites in the area which

would achieve the same or similar coverage.” Findings of Fact, Conclusions of Law and Order,

dated February 6, 2019, at p. 11. However, the County Code does not impose a requirement that

the applicant demonstrate that it “explored locating the tower on other more compatible sites in

the area which would achieve the same or similar coverage.” See Ada County Code § 8-5-3-114.

Thus, the Board’s Denial was based on criteria that are not applicable under the County Code.

       53.     Among other things in its Motion for Reconsideration, in response to the alleged

alternatives raised by Opponents, and in addition to the evidence already in the record, Horizon

submitted an affidavit from its site acquisition manager demonstrating that Horizon had

undertaken a good faith and thorough investigation of potential alternatives, and no feasible

alternatives were available. Horizon also submitted an affidavit from its RF engineer

demonstrating that the alleged alternatives asserted by the Opponents would not remedy Verizon

Wireless’ significant gap in service in the area of the Proposed Site.




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       54.     Among other things in its Motion for Reconsideration, in response to the

Opponents’ Appraisal, in addition to demonstrating that the Opponents’ Appraisal was

unlawfully based on fears regarding the alleged health effects of RF emissions, and that the

Opponents’ Appraisal was based on fundamental flaws in the properties used for comparison,

Horizon introduced evidence demonstrating that the same company that produced Opponents’

Appraisal had previously produced multiple appraisal reports from multiple locations around the

country that contradicted the conclusions in the Opponents’ Appraisal.

       55.     The Board denied Horizon’s Motion for Reconsideration on March 19, 2019 (the

“Reconsideration Denial”).

       56.     The Reconsideration Denial was the County’s final action on the Application

under Idaho and federal laws.

       57.     The Board’s Denial has the effect of prohibiting the provision of personal wireless

services to individuals who live, work, commute, and otherwise travel through the area

surrounding the Proposed Site.

       58.     Pursuant to 47 U.S.C. § 332(c)(7)(B)(v), “[a]ny person adversely affected by any

final action or failure to act by a State or local government or any instrumentality thereof that is

inconsistent with this subparagraph may, within 30 days after such action or failure to act,

commence an action in any court of competent jurisdiction. The court shall hear and decide such

action on an expedited basis.”

       59.     This action is timely filed because it was filed within thirty days after the Board’s

Reconsideration Denial, which is the final action of Defendants.




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                                           COUNT I
                         (Violation of 47 U.S.C. § 332(c)(7)(B)(i)(II) –
                      Effective Prohibition of Personal Wireless Services)

       60.     Plaintiffs incorporate by reference and reallege the foregoing factual allegations in

Paragraphs 1 through 59 as if fully set forth herein.

       61.     Pursuant to 47 U.S.C. § 332(c)(7)(B)(i)(II), “[t]he regulation of the placement,

construction, and modification of personal wireless service facilities by any . . . local government

thereof . . . shall not have the effect of prohibiting the provision of personal wireless services.”

       62.     Verizon Wireless has a significant gap in reliable personal wireless service in an

area around the Proposed Site.

       63.     Plaintiffs undertook a good faith and thorough investigation of potentially

alternative sites in and around the area of the Proposed Site within which Verizon Wireless

engineers determined that a significant gap exists and that a wireless telecommunications facility

must be located to fill the significant gap and function effectively within Verizon Wireless’s

network of existing facilities. Within the relevant search area, there are no existing structures on

which a wireless facility could be installed to cure Verizon Wireless’ significant gap in wireless

service, and no less intrusive sites are feasible or practically available to remedy the significant

gap in Verizon Wireless’ service.

       64.     The Stealth Tower is a stealth installation designed to look like a pine tree that

will be similar to other evergreen trees in the area and surrounded by additional landscaping

proposed as part of the Application.

       65.     The Proposed Site and Plaintiffs’ design of the Stealth Tower provides the least

intrusive means by which to fill the significant gap in Verizon Wireless’ personal wireless

service.




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       66.     The Denial and the Reconsideration Denial materially inhibit or limit Verizon

Wireless’s ability to achieve its service goals, and as a result effectively prohibit Verizon

Wireless from providing personal wireless service.

       67.     Thus, the County’s denial of Plaintiffs’ Application effectively prohibits the

provision of personal wireless service in violation of, and is preempted by, Section

332(c)(7)(B)(i)(II) of the Communications Act, and should be set aside and enjoined by the

Court on that basis. Further, this Court should exercise its power to issue an order commanding

the County to approve Horizon’s CUP Application and all related permits.

                                           COUNT II
           (Violation of 47 U.S.C. § 332(c)(7)(B)(iii) – Lack of Substantial Evidence)

       68.     Plaintiffs incorporate by reference and reallege the foregoing factual allegations in

Paragraphs 1 through 67 as if fully set forth herein.

       69.     Pursuant to 47 U.S.C. § 332(c)(7)(B)(iii), “[a]ny decision by a . . . local

government or instrumentality thereof to deny a request to place, construct, or modify personal

wireless service facilities shall be . . . supported by substantial evidence contained in a written

record.”

       70.     As demonstrated above, Plaintiffs’ Application with respect to constructing the

Proposed Facility at the Proposed Site satisfied all of the criteria set forth in the County Code.

       71.     Among other things, Horizon submitted evidence demonstrating that the Proposed

Facility satisfied the requirements of the County Code, including but not limited to that the

Proposed Facility would not be detrimental to the public health, safety, or welfare, that the

Proposed Facility shall not create undue adverse impacts on surrounding properties, that the

Proposed Facility is consistent with the applicable comprehensive plan, that the Proposed

Facility complies with the purpose statement of the applicable base district and with the specific



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use standards as set forth in the County Code, that the Proposed Facility complies with all

applicable county, state, and federal regulations, and that the Proposed Facility shall not impede

the normal development of surrounding property.

       72.     The Board’s Denial and Reconsideration Denial were based on standards that

were not set forth in or consistent with the County Code and the Board’s Denial and

Reconsideration Denial were not supported by substantial evidence in the record. 47 U.S.C.

§ 332(c)(7)(B)(iii).

       73.     Consequently, the County’s decision is in violation of, and preempted by, Section

332(c)(7)(B)(iii) of the Communications Act, and should be set aside and enjoined by the Court

on that basis. Further, this Court should exercise its power to issue an order commanding the

Defendants to approve the CUP Application.

                                          COUNT III
                (Violation of 47 U.S.C. § 332(c)(7)(B)(iv) – Unlawful Denial On
                     the Basis of Environmental Effects of RF Emissions)

       74.     Plaintiffs incorporate by reference and reallege the foregoing factual allegations in

paragraphs 1 through 73 as if fully set forth herein.

       75.     Pursuant to 47 U.S.C. § 332(c)(7)(B)(iv), “[n]o State or local government or

instrumentality thereof may regulate the placement, construction, and modification of personal

wireless service facilities on the basis of the environmental effects of radio frequency

emissions.”

       76.     The Stealth Tower is designed to conceal the antennas in a structure designed to

resemble an evergreen pine tree.

       77.     Evidence on the record from Horizon addressed concerns regarding perceived

health effects related to RF emissions. Specifically, Horizon demonstrated that the maximum




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permissible exposure levels from the Proposed Facility will be far below the relevant FCC

exposure limits for electromagnetic fields. There is no record evidence refuting Horizon’s

testimony and evidence in this regard.

        78.     The community opposition to the Application specifically and repeatedly

expressed concerns over the alleged health effects related to RF emissions from the Proposed

Facility.

        79.     In addition to the testimony by Opponents regarding their opposition based on

fear of the alleged health effects of RF emissions, the County’s Denial relies on Opponents’

Appraisal. The Opponents’ Appraisal explicitly stated that its conclusion that the Proposed

Facility would likely result in decreased property values of surrounding properties was based on

the perception of harm caused by RF emissions from the Proposed Facility.

        80.     Accordingly, and on information and belief, the County’s denial of the

Application was based on concerns about the alleged environmental effects of RF emissions.

        81.     Accordingly, the County’s denial of the Application constitutes an unlawful

denial based on concerns about the health and environmental impacts of RF emissions in

violation of the Communications Act.

        82.     Consequently, the County’s denial of Horizon’s Application for the Stealth Tower

is in violation of, and preempted by, Section 332(c)(7)(B)(iv) of the Communications Act, and

should be set aside and enjoined by the Court on that basis. Further, this Court should exercise

its power to issue an order commanding the Defendants to approve the CUP and all related

permits.




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                                              COUNT IV
                                  (Violation of Idaho Code § 67-5279)
       83.     Plaintiffs incorporate by reference and reallege the foregoing factual allegations in

paragraphs 1 through 82 as if fully set forth herein.

       84.     Under Idaho Code § 67-5279(3), the Board’s decision may be set aside if it:

       (a)   violates constitutional or statutory provisions;
       (b)   exceeds the Board's statutory authority;
       (c)   is made upon unlawful procedure;
       (d)   is not supported by substantial evidence on the record as a whole; or
       (e)   is arbitrary, capricious, or an abuse of discretion.
       85.     As demonstrated above, Plaintiffs’ Application with respect to constructing the

Proposed Facility at the Proposed Site satisfied all of the criteria set forth in the County’s Code.

       86.     Among other things, Horizon submitted evidence demonstrating that the Proposed

Facility satisfied the requirements of the County Code, including but not limited to that the

Proposed Facility would not be detrimental to the public health, safety, or welfare, that the

Proposed Facility will not create undue adverse impacts on surrounding properties, that the

Proposed Facility is consistent with the applicable comprehensive plan, that the Proposed

Facility complies with the purpose statement of the applicable base district and with the specific

use standards as set forth in the County Code, that the Proposed Facility complies with all

applicable county, state, and federal regulations, and that the Proposed Facility will not impede

the normal development of surrounding property.

       87.     The Board’s Denial and Reconsideration Denial were based on standards that

were not set forth in or consistent with the County Code, were not supported by substantial

evidence in the record as a whole, and were arbitrary, capricious, or an abuse of discretion.




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       88.     Accordingly, the County’s decision is in violation of, and preempted by, Idaho

law, and should be set aside and enjoined by the Court on that basis. Further, this Court should

exercise its power to issue an order commanding the Defendants to approve the CUP

Application.

                                          COUNT V
                          (Deprivation of Due Process Based On Bias)

       89.     Plaintiffs incorporate by reference and reallege the foregoing factual allegations in

paragraphs 1 through 88 as if fully set forth herein.

       90.     Defendant Board member Commissioner Visser’s actions and comments

conclusively establish that he had predetermined the outcome of the January 30, 2019, public

hearing on the opponents’ appeal of Horizon’s Application.

       91.     On January 8, 2019, one day before the Opponents’ appeal of Horizon’s

Application originally was scheduled to be heard by the Board, Commissioner Visser appeared

and spoke publicly at the January 8 Eagle City Council Meeting.

       92.     At the January 8, 2019 Eagle City Council Meeting, Commissioner Visser stated

his sympathy for the Opponents’ position against Horizon’s Application. Specifically,

Commissioner Visser thanked the Eagle City Council for “supporting” (as opposed merely

taking an interest in) the Opponents’ appeal, and lamented that people have been “led astray” and

“turned around” regarding “property rights” under Idaho law.

       93.     During his unsolicited comments on the record during the January 8 Eagle City

Council Meeting, Commissioner Visser stated that the property rights most worthy of protection

are those of “existing landowners” (i.e., the neighbors opposing Horizon’s Application), rather

than Horizon’s property rights.




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       94.      Commissioner Visser’s statements at the Eagle City Council meeting revealed his

biased predetermination of the Opponents’ appeal of Horizon’s Application. The video recording

of the January 8, 2019, Eagle City Council meeting makes clear that the context of the public

comment at that point of the proceeding was organizing opposition to Horizon’s Application.

       95.      Immediately prior to the Board’s January 30, 2019, public hearing, Commissioner

Visser read a statement into the record disclosing his improper ex parte contacts with Opponents

of Horizon’s Application and his discussion, at the January 8, 2019, Eagle City Council meeting,

of Horizon’s Application. However, Commissioner Visser’s disclosures were superficial at best.

Commissioner Visser, as a member of the Board, which was sitting in a quasi-judicial capacity

when it heard the Opponents’ appeal of Horizon’s Application, was charged with balancing the

respective property rights of the Opponents and Horizon, not correcting what he personally (and

incorrectly) perceived as an incorrect application of the law.

       96.      Following the close of the January 30, 2019 Board public hearing, Commissioner

Visser, reading from another pre-prepared, written statement, made a detailed motion to overturn

the Planning and Zoning Commission’s approval of Horizon’s Application.

       97.      A cornerstone of due process protection is the opportunity to be heard at a

meaningful time and in a meaningful manner. The “meaningful manner” prong is based on one’s

right to an impartial and disinterested tribunal. These constitutional requirements apply to

administrative and quasi-judicial proceedings as well as the courts. In fact, Idaho courts have

held that the right to an impartial adjudicator is “imperative” in quasi-judicial zoning decisions.

As a result, Idaho law flatly forbids biased decision makers from participating in land use

applications.




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       98.     If a decision-maker: (1) has made up their mind regarding facts and will not

entertain others with an open mind, or (2) will not apply existing law, or (3) has predetermined

the outcome of the hearing prior to its conclusion, it violates the due process-based impartiality

requirements of the Fifth and Fourteenth Amendments to the United States Constitution and

Idaho Constitution Article I, Section 13.

       99.     In this case, Commissioner Visser’s statements make clear that he had made up

his mind regarding the facts of Horizon’s Application, would not apply existing law, and had

predetermined the outcome of the hearing on Horizon’s Application, all in violation of due

process.

       100.    Accordingly, the Board’s denial of Horizon’s Application was made in violation

of due process under the Fifth and Fourteenth Amendments of the United States Constitution and

Idaho Constitution Article I, Section 13.


WHEREFORE, Plaintiffs demands judgment against the Defendants as follows:
       1.      An expedited review of the matters set forth in this Complaint pursuant to 47

U.S.C. § 332(c)(7)(B)(v);

       2.      A judgment that the Defendants’ actions and decisions have the effect of

prohibiting the provision of personal wireless service in violation of 47 U.S.C. §

332(c)(7)(B)(i)(II);

       3.      A judgment that the Defendants’ actions and decisions are not supported by

substantial evidence in the written record in violation of 47 U.S.C. § 332(c)(7)(B)(iii);

       4.      A judgment that the Defendants’ actions and decisions were based the alleged

environmental effects of RF emissions in violation of 47 U.S.C. § 332(c)(7)(B)(iv);




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       5.      A judgment that the Defendants’ actions and decisions conflict with and violate

Idaho law;

       6.      A judgment that the Defendants’ actions and decisions violate the

Communications Act and are therefore void and invalid;

       7.      Judgment holding that Defendants’ actions and decisions violate the due process

clause of the Idaho and Unites States Constitutions;

       8.      An order requiring the Defendants to grant the Application and thereby approve

the Proposed Facility;

       9.      An order directing the Defendants to issue all ancillary approvals and permits

necessary for the construction of the Proposed Facility;

       10.     An award of Plaintiffs’ costs, including reasonable attorneys’ fees; and

       11.     Such other and further relief as the Court may deem just and proper.



       DATED this 16th day of April, 2019.

                                                       BRIAN WEBB LEGAL



                                                       /s/ Joshua Leonard
                                                       Joshua J. Leonard, Of the Firm
                                                       Attorneys for Plaintiffs




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